Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 1 of 12 Page ID #:555
 Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 2 of 12 Page ID #:556



 1                              I. BACKGROUND
 2 A.     Factual Background
 3        Plaintiffs Backgrid USA, Inc. (“Backgrid”), Splash
 4 News and Picture Agency, LLC (“Splash News”), and
 5 Xposure Photo Agency, Inc. (“Xposure”) (collectively,
 6 “Plaintiffs”) are Hollywood’s largest celebrity-
 7 photograph agencies that regularly license celebrity-
 8 driven content to top-tier outlets such as TMZ,
 9 Entertainment Tonight, New York Post, and People
10 Magazine, as well as many television stations and media
11 outlets around the world.            First Am. Compl. (“FAC”) ¶
12 8, ECF No. 22.        Plaintiffs state that each license has
13 been granted for valuable consideration of up to
14 hundreds of thousands of dollars.                 Id.   Defendant is an
15 “entertainment technology ecosystem that leverages
16 creative content, social amplification and proprietary
17 data to deliver shareable entertainment to diverse
18 groups of audiences.”          Id. ¶ 11.      Among Defendant’s
19 properties is Paper Magazine (“Paper”), a fashion and
20 celebrity driven magazine.            Id.    Defendant uses social
21 media platforms such as Instagram1 to promote Paper and
22 engage with potential readers.              Id.     Plaintiffs allege
23
24
          1
              “Instagram is a web-based photo and video sharing social
25 media platform through which users host and share user-generated
26 content.  Instagram provides an application for mobile devices
   that allows users to upload photos, apply digital filters to
27 those photos, and share them with others on Instagram and other
     social networking websites like Twitter and Facebook.”         Rodriguez
28 v. Instagram, LLC, C 12-6482, 2013 WL 3732883, at *1 (N.D. Cal.
     July 15, 2013).
                                        2
 Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 3 of 12 Page ID #:557



 1 that Defendant improperly reproduced, distributed,
 2 displayed, and created unauthorized derivative works of
 3 their copyrighted photographs on Defendant’s social
 4 media accounts without consent or a license.                  Id. ¶ 13.
 5       Plaintiffs state that in order to minimize the
 6 damage Defendant’s infringements caused, they caused
 7 certain Digital Millennium Copyright Act (“DMCA”)
 8 Takedown Notices to be issued to Instagram.                  Id. ¶ 17.
 9 Instagram took down the infringing content and later
10 took the additional step of terminating or suspending
11 the Instagram account associated with Paper.                  Id.    On
12 or around July 15, 2020, Instagram reported that
13 Defendant had filed DMCA counter-notifications, which
14 represented that Defendant’s lawyer had “a good faith
15 belief that the material in question was removed or
16 disabled as a result of mistake or misidentification.”
17 Id. ¶ 18.
18       Plaintiffs claim that “unhappy that its Instagram
19 account had been flagged as a ‘repeat infringer’ by
20 Instagram,” Defendant filed suit against Plaintiffs.
21 Id. ¶ 20.
22 B.    Procedural Background
23       On July 15, 2020, Defendant filed a complaint
24 against Plaintiffs, among others, alleging violations
25 of the DMCA, violations of the Racketeer Influenced and
26 Corrupt Organizations Act (“RICO”), intentional
27 interference with economic advantage, and unfair
28 competition (the “First Action”).               The First Action is
                                        3
 Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 4 of 12 Page ID #:558



 1 currently pending before another court in this
 2 district.      Two weeks later, on July 29, 2020,
 3 Plaintiffs initiated the instant Action [1] in this
 4 Court stating claims for copyright infringement,
 5 declaratory relief and misrepresentation.
 6       On August 4, 2020, Defendant filed its First Motion
 7 to Dismiss (“First Motion to Dismiss”) [11] with this
 8 Court seeking dismissal of Plaintiffs’ Complaint under
 9 Federal Rule of Civil Procedure 13(a) alleging that the
10 claims asserted in this Action are compulsory
11 counterclaims arising out of the same transactions or
12 occurrences as the First Action.              Two days after filing
13 the First Motion to Dismiss, on August 6, 2020,
14 Defendant filed an Ex Parte Application (“First
15 Application”) [14] seeking to advance the hearing date
16 of the First Motion to Dismiss.              The Court denied
17 Defendant’s First Application finding that Defendant
18 “failed to establish that it would be irreparably
19 harmed by proceeding under the regularly noticed motion
20 schedule.”       Order re Ex Parte Application (“First Ex
21 Parte Order”) 4:14-16, ECF No. 19.               On August 21, 2020,
22 this First Motion to Dismiss was denied as moot [23]
23 due to Plaintiffs’ filing of their First Amended
24 Complaint [22].        See generally Order re First Motion to
25 Dismiss, ECF No 23.
26       On August 25, 2020, Defendant filed the instant
27 Motion [24].       Again, Defendant filed an Ex Parte
28 Application (“Second Ex Parte Application”) [25], which
                                        4
 Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 5 of 12 Page ID #:559



 1 the Court denied [29] for many of the same reasons
 2 discussed in the First Application.               See Order re
 3 Second Ex Parte Application (“Second Ex Parte Order”),
 4 ECF No. 29.       Plaintiffs opposed [28] the instant Motion
 5 on September 1, 2020, and Defendant replied [30] on
 6 September 2, 2020.
 7                              II. DISCUSSION
 8 A.    Legal Standard
 9       1.    First-To-File Rule
10       The first-to-file rule is “a generally recognized
11 doctrine of federal comity which permits a district
12 court to decline jurisdiction over an action where a
13 complaint involving the same parties and issues has
14 already been filed in another district.”                 Pacesetter
15 Sys. v. Medtronic, Inc., 678 F.2d 93, 94-95 (9th Cir.
16 1982). “The purpose of the [first-to-file] rule is to
17 ‘avoid the waste of duplication, to avoid rulings which
18 may trench upon the authority of sister courts, and to
19 avoid piecemeal resolution of issues that call for a
20 uniform result.”         Olin Corp. V. Continental Cas. Co.,
21 2:10-cv-0623-GMN-RRJ, 2011 WL 1337407, at *2 (D. Nev.
22 April 6, 2011) (citing Save Power Ltd., v. Syntek
23 Finance Corp., 121 F.3d 947, 950 (5th Cir. 1997)).
24       The first-to-file rule also applies when cases are
25 filed in the same district but are before different
26 courts given that the concerns of duplication and waste
27 are still relevant.          See Gaitlin v. United Parcel
28 Service, Inc., 2:18-cv-3135-SVW-AS, 2018 WL 10161198,
                                        5
 Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 6 of 12 Page ID #:560



 1 at *4 (C.D. Cal. Aug. 23, 2018) (“[I]n order to achieve
 2 sound judicial administration and avoid duplicative
 3 litigation, district courts may apply the first-to-file
 4 doctrine to two cases filed in the same district.”);
 5 Wallerstein v. Dole Fresh Vegetables, Inc., 967 F.
 6 Supp. 2d 1289, 1294 (N.D. Cal. 2013) (“The Court finds
 7 that the first-to-file rule is not limited to cases
 8 brought in different districts.”).
 9       “The most basic aspect of the first-to-file rule is
10 that it is discretionary . . . .”               Alltrade, Inc. v.
11 Uniweld Products, Inc., 946 F.2d 622, 628 (9th Cir.
12 1991).     Courts analyze three factors in determining
13 whether the first-to-file rule applies: (1) chronology
14 of the actions; (2) similarity of the parties; (3) and
15 similarity of the issues.            Id. at 625-26; see Kohn Law
16 Grp., Inc. v. Auto Parts Mfg. Miss., Inc., 787 F.3d
17 1237, 1240 (9th Cir. 2015) (stating that the first-to-
18 file rule only requires “substantial similarity of
19 parties” and “substantial similarity” of issues which
20 is determined by looking at “whether there is
21 ‘substantial overlap’ between the two suits.”).
22       2.    Federal Rule of Civil Procedure 13(a)
23       Federal Rule of Civil Procedure (“Rule”) 13(a)
24 states that a “pleading must state as a counterclaim
25 any claim that—at the time of its service—the pleader
26 has against an opposing party if the claim: (A) arises
27 out of the same transaction or occurrence that is the
28 subject mater of the opposing party’s claim; and (B)
                                        6
 Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 7 of 12 Page ID #:561



 1 does not require adding another party over whom the
 2 court cannot acquire jurisdiction.”               “The purpose of
 3 requiring a defendant to assert his claim as a
 4 counterclaim in a pending action is to ‘prevent
 5 multiplicity of actions and to achieve resolution in a
 6 single lawsuit of all disputes arising out of common
 7 matters.’”       Seattle Totems Hockey Club, Inc. v. Nat’l
 8 Hockey League, 652 F.2d 852, 854 (9th Cir. 1981)
 9 (citing Southern Constr. Co. v. Pickard, 371 U.S. 57,
10 60 (1962)).
11       When evaluating whether a cause of action is a
12 compulsory counterclaim, courts in the Ninth Circuit
13 apply the “logical relationship test.”                A “logical
14 relationship exists when the counterclaim arises from
15 the same aggregate set of operative facts as the
16 initial claim, in that the same operative facts serve
17 as the basis for both claims or the aggregate core of
18 facts upon with the claim rests activates additional
19 legal rights otherwise dormant in the defendant.”
20 Mattel, Inc. v. MGA Entm’t, 705 F.3d 1108, 1110 (9th
21 Cir. 2013).       “Importantly, ‘[w]hat matters most is not
22 the legal theory but the facts.’”               Automated Logic
23 Contracting Servs. v. Sprig Elec. Co., 5:17-cv-5910-
24 EJD, 2018 WL 984857, at *2 (N.D. Cal. Feb. 20, 2018)
25 (citing Mattel, 705 F.3d at 1110 (emphasis in
26 original)).
27 B.    Discussion
28       In evaluating whether to exercise its discretion
                                        7
 Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 8 of 12 Page ID #:562



 1 under the first-to-file rule, a court must assess: (1)
 2 chronology of the filings; and (2) whether the parties
 3 and issues are substantially similar between the
 4 actions.       Alltrade, Inc., 946 F.2d at 628.
 5        Here, despite that Defendant dedicates a
 6 substantial portion of its Motion to discussion of the
 7 first-to-file rule, Plaintiffs’ Opposition fails to
 8 address it.       The Court will consider each of the
 9 identified requirements of the first-to-file rule in
10 turn.
11        First, there is no dispute that Defendant filed the
12 First Action prior to the initiation of this Action.
13 Defendant filed the First Action on July 15, 2020 and
14 this Action was filed on July 29, 2020.2
15        Second, regarding similarity of the parties, the
16 parties in the instant Action and the First Action are
17 “functionally identical.”            SASCO v. Byers, C 08-5641 JF
18 (RS), 2009 WL 1010513, at *5 (N.D. Cal. April 14, 2009)
19 (finding parties were “substantially similar” for the
20 first-to-file rule where they were “functionally
21 identical” between the two actions when the absence of
22
          2
          Plaintiffs briefly discuss service of Splash News in the
23 First Action in their argument of whether Rule 13(a) applies to
24 dismiss this Action; however, this discussion is irrelevant to
     chronology under the first-to-file rule as “[a] federal action is
25   commenced by the filing of the complaint, not service of
     process.” Pacesetter, 678 2d 96 n.3 (finding plaintiff’s
26   contention that first-to-file rule was inapplicable where
     plaintiff was served in the first action after initiation of the
27   second action “without merit” because basing jurisdictional
     decision “on the technicalities of service of process would be
28   inappropriate”).
                                        8
 Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 9 of 12 Page ID #:563



 1 a party had “no bearing on the resolution of the
 2 dispute”).       The fact that the First Action also
 3 includes Okularity Inc. (“Okularity”) and its CEO Jon
 4 Nicolini (“Nicolini”) as defendants does not weigh
 5 against dismissal under the first-to-file rule.                   Given
 6 that all of the parties in the instant Action are also
 7 parties to the First Action, the Court finds that the
 8 parties are “substantially similar” for the purposes of
 9 the first-to-file rule.           See Keen v. Limousine, 2:16-
10 cv-1903-JCM-GWF, 2016 WL 6828199, at *2 (D. Nev. Nov.
11 18, 2016) (finding parties in the first and second
12 actions were “substantially similar” favoring
13 application of the first-to-file rule where both
14 actions defined the class of plaintiffs “current and
15 former employees”); Gen. Prods. Mach. Shop, Inc. v.
16 Systematic Inc., No. CV-06-99-E-BLW, 2006 WL 2051737,
17 at *1 (D. Idaho July 20, 2006) (“The parties in the two
18 actions need not be identical for purposes of the
19 first-to-file rule, but there must be similarity or
20 substantial overlap.”).
21       Finally, the Court must address the similarity of
22 the issues between these two Actions.                See Nat’l Union
23 Fire Ins. Co. of Pittsburgh, PA. v. Payless Shoesource,
24 Inc., No C-11-1892 EMC, 2012 WL 3277222, at *3 (N.D.
25 Cal. Aug. 9, 2012) (“[T]he requirement that the issues
26 in both actions be ‘substantially similar’ is satisfied
27 even where different claims are advanced in each
28 action, so long as the ‘key dispute’ in each action is
                                        9
Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 10 of 12 Page ID #:564



 1 the same.”).       Here, the crux of Defendant’s complaint
 2 in the First Action is that Okularity submitted
 3 fraudulent DMCA notices to Instagram on behalf of
 4 Plaintiffs.       See Ex. A in Supp. of First Motion to
 5 Dismiss Reply (“First Action FAC”) ¶¶ 29, 37-43, ECF
 6 No. 21-1.      Specifically, Defendant’s first cause of
 7 action for violations of the DMCA alleges that
 8 Plaintiffs, collectively with Okularity, and Nicolini,
 9 “willfully, knowingly, and materially” made
10 misrepresentations to Instagram stating that
11 Defendant’s images were infringing on intellectual
12 property rights owned by Plaintiffs.               Id. ¶ 37.
13       One of the core questions in the instant Action is
14 whether Defendant materially misrepresented in its
15 counter-notices under the DMCA.             Importantly, both
16 Actions require considering whether Defendant infringed
17 Plaintiffs’ works, whether Plaintiffs’ DMCA notices
18 issued through Okularity were proper, and whether
19 Defendant’s counter-notices were proper.                The parties’
20 claims in these Actions are effectively two versions of
21 the same events: Defendant’s posting of certain
22 photographs on Instagram that Plaintiffs claim
23 infringed upon their copyrights; Plaintiffs, through
24 Okularity and Nicolini, issuing take-down notices to
25 Instagram; Instagram’s disabling of Paper’s Instagram
26 account; and Defendant issuing counter-notices to
27 Instagram.      Given that the parties and issues are
28 substantially similar, the Court finds that “in the
                                       10
Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 11 of 12 Page ID #:565



 1 name of judicial efficiency one court should decide
 2 these issues as having two courts determine whether
 3 each party’s conduct [as it pertains to the alleged
 4 copyright infringement and related DMCA notices] is
 5 duplicative and judicially inefficient.”                Global Music
 6 Rights, LLC. v. Radio Music License Comm., Inc., CV 16-
 7 9051-BRO (ASx), 2017 WL 3449606, at *7 (C.D. Cal. April
 8 7, 2017).
 9        In evaluating the first-to-file considerations, the
10 Court finds that dismissal of the instant Action under
11 the first-to-file rule is appropriate.                See Gatlin,
12 2018 WL 10161198, at *3 (finding dismissal of
13 plaintiff’s claim appropriate where “in order to
14 achieve sound judicial administration and avoid
15 duplicative litigation” court applied the first-to-file
16 doctrine to cases in the same district before different
17 judges); Blanchard Training & Dev. v. Leadership
18 Studies, Inc., 15cv2142 WQH (KSC), 2016 WL 773227, at
19 *5 (S.D. Cal. Feb. 29, 2016) (dismissing second filed
20 action under first-to-file rule where parties were
21 identical and resolution of first action had capacity
22 to resolve the second action).
23        As such, the Court GRANTS Defendant’s Motion on
24 this basis.3
25
26        3
            Because the Court finds dismissal of this Action is
27   appropriate under the first-to-file rule, it need not address
     whether dismissal is also appropriate under Rule 13(a).
28
                                       11
Case 2:20-cv-06803-RSWL-RAO Document 32 Filed 10/01/20 Page 12 of 12 Page ID #:566



 1                            III. CONCLUSION
 2       For the reasons discussed above, the Court GRANTS
 3 Defendant’s Motion without prejudice to allow
 4 Plaintiffs the opportunity to file their claims if and
 5 when the opportunity arises for responsive pleading in
 6 the First Action.
 7
 8 IT IS SO ORDERED.
 9
10 DATED: October 1, 2020                   /s/ Ronald S.W. Lew
11                                        HONORABLE RONALD S.W. LEW
                                          Senior U.S. District Judge
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                       12
